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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION


VARILEASE FINANCE, INC., and
VFI KR SPE I, LLC,

              Plaintiffs,                   Civil Action No. 22-cv-12875
                                            HON. BERNARD A. FRIEDMAN

vs.

INTERCONTINENTAL CAPITAL
GROUP, INC., and DUSTIN A. DIMISA,

              Defendants.
                                      /


 ORDER DENYING MOTION TO COMPEL ESCROW OF TAX REFUND


      This matter is before the Court on a motion to compel escrow of tax refund

filed by plaintiffs Varilease Finance, Inc. and VFI KR SPE I LLC. (ECF No. 20).

Defendants Intercontinental Capital Group, Inc. and Dustin Dimisa filed a

response, and plaintiffs filed a reply. (ECF Nos. 23, 24). The Court held a hearing

on the motion via Zoom on May 2, 2023. For the reasons stated on the record, it

is, hereby,
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      ORDERED that the motion to compel escrow of tax refund (ECF No. 20) is

DENIED WITHOUT PREJUDICE.



      SO ORDERED.

                                   s/Bernard A. Friedman
                                   Hon. Bernard A. Friedman
Dated: May 3, 2023                 Senior United States District Judge
       Detroit, Michigan




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